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                EXHIBIT A
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                        SETTLEMENT AGREEMENT TERM SHEET

The following prescribes the binding, essential terms of the final settlement between Robert
Martin, Pamela Hawkes, and Robert Anderson ("Plaintiffs") and the City of Boise ("Defendant'')
(together with Plaintiffs, "the Parties") in the matter Martin et al v. City of Boise et al, I :09-cv-
0540-REB.


Proceedings and Claims to be Settled
Upon signature of this Term Sheet, the Parties agree to a full and final resolution of all claims in
the ahove-captioned case. The Settlement Agreement, attached hereto as Exhibit B, constitutes
the binding terms of settlement as agreed to by the Parties, and shall be enforceable to the fullest
extent of the law.


Terms of Settlement
The Parties agree to be bound by the tenns of the Settlement Agreement, attached as Exhibit B.
The Settlement Agreement incorporates, and is conditioned in part on, amendment of Section 7-
3A-2 of the Boise City Code ("Camping Ordinance") and Section 5-2-3 of the Boise City Code
("Disorderly Conduct Ordinance") as agreed to by the Parties. The ordinances, as they will be
amended, are attached to this Term Sheet as Exhibit C (Camping Ordinance) and Exhibit D
(Disorderly Conduct Ordinance) respectively.


Dismissal of the Action
The Parties agree to seek dismissal of the above-captioned case by joint stipulation, with the
following conditions:

a. The Parties agree that dismissal of the case with prejudice is conditioned on (1) approval by
the City of Boise of the terms of the Settlement Agreement; (2) the appropriation of funds by the
City of Boise, as outlined in the Settlement Agreement; and (3) the amendment of the Camping
and Disorderly Conduct Ordinances to conform with Exhibits C and D, respectively.
("Conditional Terms").

b. Upon satisfaction of the Conditional Terms, the Parties agree to a full and final release of all
claims including any claims for damages, fees, and costs. The Parties understand that the
completion of other terms set forth in the Settlement Agreement is not required prior to the
execution of that full and final release, but remain binding obligations.


 Homeless Initiative Funds, Damages, and Fees
 The Parties agree to the payment of Boise Homeless Initiative funds, damages, and attorneys'
 fees and costs as outlined in the Settlt:ment Agreement.
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